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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-1 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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